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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           Case No. 12-60011-CR-ROSENBAUM/SNOW


  UNITED STATES OF AMERICA,

                         Plaintiff,

  v.

  MONICA LEWIS, et al.,

                         Defendants.
                                         /


                        ORDER DENYING MOTION TO RECONSIDER

         This matter is before the Court on Defendant Monica Lewis’s Motion to Reconsider Denial

  of Bond and Remand of Defendant [D.E. 560]. The Court has reviewed Defendant’s Motion and

  the record and is otherwise duly advised in the premises. After careful consideration, the Court now

  denies Defendant Lewis’s Motion to Reconsider for the reasons set forth below.

         On November 14, 2012, following a jury trial, Defendant Lewis was convicted of conspiracy

  to possess with intent to distribute at least 500 grams of cocaine and conspiracy to use a

  communication facility to facilitate a drug-trafficking offense, both in violation of 21 U.S.C. § 846.

  See D.E. 507. At the time of her conviction, Defendant requested to be released on bond pending

  sentencing. Although the Government conceded that Defendant did not represent a serious risk of

  flight or a danger to the community that could not be addressed by conditions of release, the

  Government opposed Lewis’s motion, relying on 18 U.S.C. § 3143(a)(2).

         Section 3143(a)(2) provides,

                 (2)     The judicial officer shall order that a person who has been
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                         found guilty of an offense in a case described in subparagraph
                         (A), (B), or (C) of subsection (f)(1) of section 3142 and is
                         awaiting imposition or execution of sentence be detained
                         unless —

                         (A)(i) the judicial officer finds there is a substantial
                                likelihood that a motion for acquittal or new trial will
                                be granted; or

                         (ii)    an attorney for the Government has recommended that
                                 no sentence of imprisonment be imposed on the
                                 person; and

                         (B)     the judicial officer finds by clear and convincing
                                 evidence that the person is not likely to flee or pose a
                                 danger to any other person or the community.

  (emphasis added). Section 3142(f)(1)(C), in turn, refers to “an offense for which a maximum term

  of imprisonment of ten years or more is prescribed in the Controlled Substances Act (21 U.S.C. 801

  et seq.) . . . .” The penalty for conspiracy to possess with intent to distribute at least 500 grams of

  cocaine, in violation of 21 U.S.C. § 846, a provision of the Controlled Substances Act, carries with

  it a maximum term of imprisonment of forty years. See 21 U.S.C. §§ 841(b)(1)(B), 846. Therefore,

  based on the plain language of the statute and Lewis’s lack of any legal authority authorizing the

  Court to release her, the Court remanded Lewis following her conviction.

         In her pending Motion, Lewis asks the Court to release her from custody pending sentencing.

  In support of this request, Lewis asserts that Co-defendant Robert Jackson pled guilty on December

  14, 2012, to the same charges of which Defendant Lewis had been convicted at trial. See D.E. 560

  at ¶ 6. At the time of Jackson’s guilty plea, the Court did not visit the issue of remand or bond

  continuance.1 Because Jackson was not remanded, Lewis argues, she should be released as well.


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          A different judge was kind enough to preside over the proceedings where Jackson
  entered his guilty plea.

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            The problem with Lewis’s argument arises from the fact that she still has pointed to no legal

  authority authorizing the Court to release her under the current circumstances. While it is true that

  Jackson was not remanded upon entering his guilty plea, that is because the plea was taken by a

  magistrate judge, so no conviction could result until the Court adopted the magistrate judge’s report

  and recommendation. Now that the Court has done so, the Court will set a hearing regarding

  whether Jackson satisfies the statutory standard under Section 3143(a)(2) allowing for release

  pending sentencing. See United States v. Bryant, 873 F. Supp. 660, 662 (N.D. Ga. 1994) (holding

  that Section 3143(a)(2) governs post-conviction release pending sentencing in a drug-trafficking case

  — even where a defendant pleads guilty — and that it precludes release where its conditions are

  not satisfied); see also United States v. Fussell, 2008 WL 4925639, *6 (M.D. Fla. Nov. 14, 2008)

  (reaching same conclusion for a defendant convicted after trial); United States v. Hooks, 330 F.

  Supp. 2d 1311, 1312 (M.D. Ala. 2004). That hearing, however, has no effect on the application of

  Section 3143(a)(2) to Lewis and cannot serve as a legal basis for Lewis’s release. Accordingly,

  Defendant Monica Lewis’s Motion to Reconsider Denial of Bond and Remand of Defendant [D.E.

  560] must be DENIED.

            DONE AND ORDERED at Fort Lauderdale, Florida, this 11th day of January 2013.




                                                           ROBIN S. ROSENBAUM
                                                           UNITED STATES DISTRICT JUDGE

  copies:          The Honorable Lurana S. Snow
                   Counsel of Record




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